The Sedona Principles, Third Edition:
Best Practices, Recommendations & Principles for

Addressing Electronic Document Production
(October 2017)

The Third Edition of The Sedona Principles is a project started in 2002 by The Sedona Conference
Working Group on Electronic Document Retention & Production (WG1), From its inception, The
Sedona Principles was intended to serve as best practices, recommendations, and principles for
addressing electronically stored information (ESD issues in disputes —whether in federal or state
court, and whether during or before the commencement of litigation. Throughout its 15-year
evolution, The Sedona Principles has been recognized as a foundational guide for attorneys and
judges confronting the novel challenges of eDiscovery. The Third Edition reflects the
development of electronic discovery practice over the past decade and the 2015 amendments to
the Federal Rules of Civil Procedure,

The Sedona Principles, Third Edition presents fourteen practical Principles for addressing Electronic
Document Production:

Principle 1 —_ Electronically stored information is generally subject to the same preservation
and discovery requirements as other relevant information.

Principle 2 When balancing the cost, burden, and need for electronically stored
information, courts and parties should apply the proportionality standard
embodied in Fed. R. Civ. P. 26(b)(1) and its state equivalents, which requires
consideration of the importance of the issues at stake in the action, the amount
in controversy, the parties’ relative access to relevant information, the parties’
resources, the importance of the discovery in resolving the issues, and whether
the burden or expense of the proposed discovery outweighs its likely benefit.

Principle 3 As soon as practicable, parties should confer and seek to reach agreement
regarding the preservation and production of electronically stored information.

Principle 4 Discovery requests for electronically stored information should be as specific as
possible; responses and objections to discovery should disclose the scope and
limits of the production.

Principle 5 = The obligation to preserve electronically stored information requires reasonable
and good faith efforts to retain information that is expected to be relevant to
claims or defenses in reasonably anticipated or pending litigation. However, it
is unreasonable to expect parties to take every conceivable step or
disproportionate steps to preserve each instance of relevant electronically stored
information.

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Principle 6 Responding parties are best situated to evaluate the procedures, methodologies,
and technologies appropriate for preserving and producing their own
electronically stored information.

Principle 7 The requesting party has the burden on a motion to compel to show that the
responding party’s steps to preserve and produce relevant electronically stored
information were inadequate,

Principle 8 = The primary sources of electronically stored information to be preserved and
produced should be those readily accessible in the ordinary course. Only when
electronically stored information is not available through such primary sources
should parties move down a continuum of less accessible sources until the
information requested to be preserved or produced is no longer proportional.

Principle9 Absent a showing of special need and relevance, a responding party should not
be required to preserve, review, or produce deleted, shadowed, fragmented, or
residual electronically stored information.

Principle 10 Parties should take reasonable steps to safeguard electronically stored
information, the disclosure or dissemination of which is subject to privileges,
work product protections, privacy obligations, or other legally enforceable —
restrictions.

Principle 11 A responding party may satisfy its good faith obligations to preserve and
produce relevant electronically stored information by using technology and
processes, such as sampling, searching, or the use of selection criteria.

Principle 12. The production of electronically stored information should be made in the form
or forms in which it is ordinarily maintained or that is reasonably usable given
the nature of the electronically stored information and the proportional needs
of the case.

Principle 13 The costs of preserving and producing relevant and proportionate electronically
stored information ordinarily should be borne by the responding party.

Principle 14 The breach of a duty to preserve electronically stored information may be
addressed by remedial measures, sanctions, or both: remedial measures are
appropriate to cure prejudice; sanctions are appropriate only if a party acted
with intent to deprive another party of the use of relevant electronically stored
information.

The full text of The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for
Addressing Electronic Document Production, is available free for individual download from
The Sedona Conference website at
https://thesedonaconference.org/publication/The_Sedona_Principles.

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